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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
 UMG RECORDINGS, INC., et al.,                  §
                                                §
 V.                                             §    CAUSE NO. A-17-CA-365-LY
                                                §
 GRANDE COMMUNICATIONS                          §
 NETWORKS, LLC, and PATRIOT                     §
 MEDIA CONSULTING, LLC                          §

                                           ORDER

       Before the Court are various motions referred from the District Court. Having reviewed the

motions, the Court ORDERS the parties to appear before the undersigned at the United States

Courthouse located at 501 West 5th Street, Austin, Texas, for a hearing on all referred pending

motions on Thursday, August 16, 2018 at 10:00 a.m.

       SIGNED this 12thth day of July, 2018.




                                          _____________________________________
                                          ANDREW W. AUSTIN
                                          UNITED STATES MAGISTRATE JUDGE
